     Case 5:15-cv-00275-RGK-SP Document 191 Filed 04/30/24 Page 1 of 1 Page ID #:1706
                                                                           JS-6


1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
        LENROY McLEAN,                ) Case No. 5:15-cv-00275-RGK-SP
11                                    )
                        Plaintiff,    )
12                                    ) JUDGMENT
                    v.                )
13                                    )
        R. PHILLIP GUTIERREZ, et al., )
14                                    )
                        Defendants. )
15                                    )
                                      )
16     _____________________________ )
17
18           Pursuant to the Order Accepting Findings and Recommendation of United States

19     Magistrate Judge,

20           IT IS HEREBY ADJUDGED that the Third Amended Complaint and this action

21     are dismissed with prejudice.

22
23     Dated: 4/30/2024
24                                     _______________________________________
25                                     HONORABLE R. GARY KLAUSNER
                                       UNITED STATES DISTRICT JUDGE
26
27
28
